
Ksenia Pavlova, D.O., as Assignee of Connie Stevenson, Appellant, 
againstCountry Wide Insurance Company, Respondent.



Appeal from an order of the Civil Court of the City of New York, Queens County (Larry Love, J.), entered June 29, 2015. The order denied plaintiff's motion for summary judgment and granted defendant's cross motion for summary judgment dismissing the complaint.




ORDERED that the order is modified by providing that defendant's cross motion for summary judgment dismissing the complaint is denied; as so modified, the order is affirmed, without costs.
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff appeals from an order of the Civil Court which denied plaintiff's motion for summary judgment and granted defendant's cross motion for summary judgment dismissing the complaint.
For the reasons stated in Island Life Chiropractic Pain Care, PLLC v Country Wide Ins. Co. (53 Misc 3d 131[A], 2016 NY Slip Op 51378[U] [App Term, 2d Dept, 2d, 11th &amp; 13th Jud Dists 2016]), the order is modified by providing that defendant's cross motion for summary judgment dismissing the complaint is denied.
Weston, J.P., Aliotta and Elliot, JJ., concur.
Decision Date: February 08, 2017










